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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA,                   Case No. 1:22-cv-00329-BLW

      Plaintiff,

v.

THE STATE OF IDAHO,

      Defendant,

and

SCOTT BEDKE, in his official capacity as
Speaker of the House of Representatives of
the State of Idaho; CHUCK WINDER, in his
capacity as President Pro Tempore of the
Idaho State Senate; and the SIXTY-SIXTH
IDAHO LEGISLATURE,

      Intervenor-Defendants.


                               ___________________________

            IDAHO LEGISLATURE’S MOTION FOR RECONSIDERATION
               OF ORDER GRANTING PRELIMINARY INJUNCTION
                        ___________________________

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       Intervenor-Defendants Speaker of the Idaho House of Representatives Scott Bedke,

Idaho Senate President Pro Tempore Chuck Winder, and the Sixty-Sixth Idaho Legislature

(collectively “Legislature”) respectfully move this Court to reconsider its August 24, 2022

Decision and Order, Dkt. 95 (“Idaho Order”). The Court should enter, in the place of the

“Order” appearing at pages 38–39, the language appearing in Exhibit 2 to the Idaho

Legislature’s Objection to the Government’s Proposed Order, Dkt. 93, or enter a new order

vacating the Idaho Order and denying the Government’s Motion for Preliminary

Injunction, Dkt. 17.

       This motion is supported by the Memorandum filed contemporaneously herewith,

with the motion’s first request being specifically supported by that Memorandum’s Section

II and the motion’s second request being specifically supported by that Memorandum’s

Section III.

Dated this 7th day of September, 2022.

                                          MORRIS BOWER & HAWS PLLC


                                          By:    /s/ Daniel W. Bower
                                                  Daniel W. Bower


                                           /s/ Monte Neil Stewart
                                          Monte Neil Stewart

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court via the CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
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     I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participant via email:

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